Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 1 of 17 PageID #: 1276



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  --------------------------------------------------------------------- x
  GOVERNMENT EMPLOYEES INSURANCE CO.,                                   :
  GEICO INDEMNITY CO., GEICO GENERAL                                    :
  INSURANCE COMPANY, AND GEICO CASUALTY :
  CO.,                                                                  :
                                                                        :   REPORT &
                                              Plaintiffs,               :   RECOMMENDATION
                                                                        :   14-CV-5277 (ENV) (SMG)
                   -against-                                            :
                                                                        :
  SPECTRUM NEUROLOGY GROUP, LLC, OMEGA :
  NEUROLOGICAL ASSOCIATES, LLC, MERIDIAN :
  RADIOLOGY ASSOCIATES, LLC, PROGRESSIVE :
  DIAGNOSTIC, INC., CLEAR IMAGE, INC., PREMIER:
  PROFESSIONAL SERVICES, LLC,                                           :
  COMPREHENSIVE MEDICAL GROUP, LLC,                                     :
  PREMIER PROFESSIONAL SERVICES, LLC,                                   :
  COMPREHENSIVE MEDICAL GROUP, LLC,                                     :
  PREMIER HEALTH SERVICES, LLC, THE NEURO :
  GROUP, LLC, NEW WAVE DIAGNOSTIC, LLC,                                 :
  PALMER MEDICAL, PC, NEUROLOGY &                                       :
  RADIOLOGY PARTNERS, PA, AMERICAN                                      :
  NEUROLOGY & RADIOLOGY, PA,                                            :
                                                                        :
                   -and-                                                :
                                                                        :
  BRAD GOLDSTEIN, LAURENCE RUBIN, DENA                                  :
  GOLDSTEIN, GLEN SKOLNIK, SUSAN EBY,                                   :
  SUSAN WHITNEY, DAVE MANTOR, MELISSA                                   :
  MANTOR, RUSSELL PACKARD,                                              :
                                                                        :
                   -and-                                                ;
                                                                        :
  SANFORD DAVIS, ALEXANDER LANDFIELD,                                   :
  SAMANTHA MENDELSON, NIZAR SOUAYAH,                                    :
  KEVIN CONNOR, MELVIN GROSSMAN, KEVIN                                  :
  DRAKE,                                                                :
                                                                        :
                                              Defendants.               :
  --------------------------------------------------------------------- x
  GOLD, STEVEN M., U.S.M.J.:
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 2 of 17 PageID #: 1277



                                         INTRODUCTION

         Plaintiffs Government Employees Insurance Co., GEICO Indemnity Co., GEICO General

  Insurance Company, and GEICO Casualty Co. (collectively, “GEICO” or “plaintiffs”) allege that

  defendants engaged in a scheme to submit fraudulent claims for reimbursement pursuant to New

  York’s “no-fault” law. The no-fault law allows medical service providers that meet state

  licensing requirements to obtain payment from insurers for services provided to insureds who are

  injured in motor vehicle accidents. These payments include necessary expenses for medical

  treatment up to $50,000. N.Y. Ins. Law §§ 5102(a)(1), 5102(b), 5103.

         To be eligible for reimbursement under the no-fault law, however, a provider of

  healthcare services must comply with applicable licensing requirements. 11 NYCRR § 65-

  3.16(a)(12). State licensing requirements prohibit individuals without a professional license

  from owning or controlling healthcare corporations. See State Farm Mut. Auto. Ins. Co. v.

  Mallela, 4 N.Y.3d 313, 320-21 (2005). Thus, “insurance carriers may withhold payment for

  [health] services provided by fraudulently incorporated enterprises to which patients have

  assigned their claims.” Id. at 319. In addition, medical professional corporations may not seek

  or receive reimbursement for healthcare services provided by independent contractors, even if

  the independent contractor is licensed to provide the service. Gov’t Emps. Ins. Co. v. AMD

  Chiropractic, P.C., 2013 WL 5131057, at *2 (E.D.N.Y. Sept. 12, 2013).

         Plaintiffs allege that defendants improperly sought and obtained no-fault reimbursement

  payments because they provided healthcare services through corporations that were not owned

  and controlled by a licensed healthcare professional, and by submitting claims for reimbursement

  for services that were, at least in some instances, not medically necessary or were provided by

  independent contractors. Complaint (“Compl.”), Docket Entry 1, ¶¶ 1-4, 23-25, 29-31, 105-29,




                                                  2
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 3 of 17 PageID #: 1278



  163-242. Plaintiffs assert state law claims for common law fraud and unjust enrichment, and

  also seek a declaratory judgment providing that they are not obligated to pay any pending

  fraudulent claims submitted by defaulting defendants.

           Two corporate defendants failed to appear or otherwise defend against this action:

  Premier Professional Services, LLC (“Premier Professional”) and Premier Health Services, LLC

  (“Premier Health”) (collectively “defaulting defendants”). 1 Upon plaintiffs’ applications, Docket

  Entries 56, 58, the Clerk of Court noted these defendants’ default. Docket Entries 62, 64.

  Plaintiffs subsequently filed a motion for default judgment and a memorandum along with

  supporting declarations and exhibits.2 Docket Entries 88-91. On December 10, 2015, United

  States District Judge Eric N. Vitaliano referred the motion to me for report and recommendation.

  Docket Entry 97.

           In addition to the complaint and its attached exhibits 1 through 19, Docket Entry 1, I

  consider plaintiffs’ memorandum in support of their motion for default judgment (“Pls. Mem.”),

  Docket Entry 89; the Declaration of Michael Sirignano, counsel for plaintiffs (“Sirignano

  Decl.”), and its attached exhibits A through F (“Sirignano Exs.”), Docket Entry 90; and the

  Declaration of Robert Weir, a GEICO claims manager (“Weir Decl.“), and its attached exhibits

  1 through 3 (“Weir Exs.”), Docket Entry 90-2, in making this Report. Having considered these

  submissions, I respectfully recommend that plaintiffs’ motion be granted with respect to

  defendants Premier Health and Premier Professional, and that judgments be entered against these

  defaulting defendants and in favor of plaintiffs as more fully set forth below.

  1
   At the outset of this litigation, plaintiffs were unable to effectuate service on defaulting defendants. Docket Entries
  45-47, 89 at 2. On December 10, 2014, this Court granted plaintiffs’ motion for alternate service, Docket Entry
  dated December 10, 2014, and plaintiffs were able to effectuate service. Docket Entries 48, 50.
  2
    Plaintiffs previously filed a motion for default judgment against defaulting defendants, as well as Comprehensive
  Medical Group, LLC. Docket Entries 77-80. The Court denied that motion with leave to renew, Docket Entry 83,
  and plaintiffs subsequently renewed that motion only as to defaulting defendants, which is the motion now before
  the Court. Docket Entry 88.



                                                             3
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 4 of 17 PageID #: 1279



                                                FACTS

         The facts set forth below are drawn primarily from plaintiffs’ complaint, Docket Entry 1,

  and, as indicated below, are deemed true for purposes of evaluating liability. Defaulting

  defendants—the only remaining defendants—Premier Professional and Premier Health were

  formed in 2004 as Delaware limited liability companies each with its principal place of business

  in Boca Raton, Florida. Compl. ¶¶ 23-25, 29-31. At all relevant times, defaulting defendants

  have been owned and controlled by unlicensed non-professionals. Compl. ¶¶ 23-25, 29-31, 47-

  50. Plaintiffs allege that defaulting defendants have submitted hundreds of fraudulent no-fault

  insurance claims relating to services provided to victims of automobile accidents in New York

  State that were in fact not legitimately eligible for reimbursement. Compl. ¶¶ 1, 4-5, 90-129,

  170-217, 224-42.

         More specifically, plaintiffs’ complaint alleges that the defaulting defendants used a

  variety of corporate entities to submit fraudulent bills to plaintiffs for “medically unnecessary,

  illusory, and all-together fake diagnostic tests.” Pls. Mem. at 4-5. See Compl. ¶¶ 1-5, 105-29,

  170-217, 224-25. According to the complaint, defaulting defendants illegally provided and

  billed for useless and medically unnecessary neurological and radiological diagnostic testing of

  New York insureds, in the form of ultrasounds, Compl. ¶¶ 170-77, somatosensory evoked

  potentials, Compl. ¶¶ 178-90, and nerve conduction velocity tests apparently performed without

  the necessary electromyography companion test, Compl. ¶¶ 191-207. These fraudulent bills

  were submitted by defaulting defendants even though, as corporations not owned and operated

  by licensed professionals, they were not eligible to submit no-fault bills for reimbursement.

  State Farm Mut. Auto. Ins. Co. v. Mallela, 4 N.Y.3d 313, 320-21 (2005); Compl. ¶¶ 23-25, 29-

  31, 47-50, 118-28. Defendants also violated state law by employing independent contractors to

  render healthcare services and then seeking reimbursement for those services. See State of New


                                                    4
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 5 of 17 PageID #: 1280



  York Insurance Department, Informal Opinion of General Counsel dated February 21, 2001,

  Compl. Ex. 17; Compl. ¶¶ 4, 66-68, 116, 208-17. The bills and documentation were submitted to

  plaintiffs systematically on hundreds of NF-3 forms and bills over the course of several years. 3

  Compl. ¶¶ 208-17, 224-38; Compl. Exs. 5, 7; Weir Decl. ¶ 5; Weir Exs. 1-3.

                                                   DISCUSSION

  I.       Liability of Defaulting Defendants

           Once found to be in default, a defendant is deemed to have admitted all of the well-

  pleaded allegations in the complaint pertaining to liability. See Greyhound Exhibitgroup, Inc. v.

  E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d Cir. 1992); Montcalm Publ’g Corp. v. Ryan, 807 F.

  Supp. 975, 977 (S.D.N.Y. 1992). A court, however, retains the discretion to determine whether a

  final default judgment is appropriate. Enron Oil Corp. v. Diakuhara, 10 F.3d 90, 95 (2d Cir.

  1993). Thus, despite a defendant’s default, the plaintiff bears the burden of demonstrating that

  the unchallenged allegations, without more, establish the defendant’s liability on each asserted

  cause of action. See Au Bon Pain Corp. v. Artect, Inc., 653 F.2d 61, 65 (2d Cir. 1981)

  (recognizing the court’s authority, even after default, to determine whether plaintiff has stated a

  cause of action); Microsoft Corp. v. Computer Care Ctr., Inc., 2008 WL 4179653, at *6

  (E.D.N.Y. Sept. 10, 2008).

           Plaintiffs allege that defaulting defendants should be held liable for common law fraud

  and unjust enrichment. In addition, plaintiffs seek a declaratory judgment stating that they are

  not obligated to pay any outstanding claims submitted by defaulting defendants. I now consider




  3
    An NF-3 form is the statutorily prescribed form a healthcare provider must use when submitting claims for
  reimbursement directly to an insurance company. Compl. ¶ 224. The NF-3 form must be verified by the healthcare
  provider subject to a warning about potential criminal liability for providing false or misleading information about
  any material fact in the submission. Compl. ¶ 104.



                                                           5
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 6 of 17 PageID #: 1281



  whether the facts alleged in the complaint are sufficient to establish the liability of each

  defaulting defendant.

         A. Common Law Fraud Claim

         A plaintiff asserting a claim of common law fraud under New York law must allege: “(1)

  a material representation or omission of fact; (2) made with knowledge of its falsity; (3) with

  scienter or an intent to defraud; (4) upon which the plaintiff reasonably relied; and (5) [that] such

  reliance caused damage to the plaintiff.” Soley v. Wasserman, 823 F. Supp. 2d 221, 235

  (S.D.N.Y. 2011) (internal quotation marks and citation omitted). The third and fourth elements

  of common law fraud bear further explanation. The intent prong of common law fraud is

  established “when it is clear that a scheme, viewed broadly, is necessarily going to injure.”

  AUSA Life Ins. Co. v. Ernst and Young, 206 F.3d 202, 220-21 (2d Cir. 2000) (internal quotation

  marks and citation omitted). A plaintiff’s reliance on intentionally fraudulent statements is

  reasonable without further investigation when “matters are held to be peculiarly within

  defendant’s knowledge, . . . as [plaintiff] has no independent means of ascertaining the truth.”

  Lazard Freres & Co. v. Protective Life Ins. Co., 108 F.3d 1531, 1542 (2d Cir. 1997).

         “[I]n federal court, fraud must be plead with particularity in accordance with Fed. R. Civ.

  P. 9(b)’s requirements.” AIU Ins. Co. v. Olmecs Med. Supply, Inc., 2005 WL 3710370, at *14

  (E.D.N.Y. Feb. 22, 2005). “Pleading fraud with particularity requires the plaintiff to ‘(1) specify

  the statements that the plaintiff contends were fraudulent, (2) identify the speaker, (3) state where

  and when the statements were made, and (4) explain why the statements were fraudulent.’” Id.

  at *10 (citing Anatian v. Coutts Bank (Switzerland) Ltd., 193 F.3d 85, 88 (2d Cir. 1999)).

  Plaintiffs need to allege only a general knowledge of the misrepresentation or omission and

  intent to defraud, but they must allege enough facts to give rise to a strong inference that the




                                                    6
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 7 of 17 PageID #: 1282



  defendants had the requisite intent to defraud. AMD Chiropractic, P.C., 2013 WL 5131057, at

  *4. This requirement may be satisfied by alleging facts that “‘show that defendants had both

  motive and opportunity to commit fraud,’ or by alleging facts ‘that constitute strong

  circumstantial evidence of conscious misbehavior or recklessness.’” Id. (quoting Shields v.

  Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d Cir. 1994)).

         In this case, plaintiffs allege, in detail, that defaulting defendants not only knew that they

  were submitting fraudulent claims to plaintiffs, but that they did so intentionally as part of a

  calculated scheme, and that they actively concealed their fraud in order to prevent discovery and

  to collect money they were not entitled to receive. See Gov’t Emps. Ins. Co. v. Gateva, 2014 WL

  1330846, at *6-7 (E.D.N.Y. Mar. 30, 2014). Specifically, plaintiffs allege that defaulting

  defendants submitted verified NF-3 forms—forms that acknowledge that the submission of false

  information is a crime—representing that they were properly licensed under New York law and

  eligible to bill under the no-fault law, that the medical diagnostic tests they provided and billed

  for were medically necessary, and that those tests were performed by their employees when in

  fact they were conducted by independent contractors. Compl. ¶¶ 4, 66-68, 104, 116, 208-17,

  224-42. Indeed, defaulting defendants represented that they were eligible to bill for no-fault

  reimbursement every time they made a verified submission, even though they knew that they

  were improperly licensed and, as corporations controlled by non-medical professionals, were

  ineligible to recover under New York’s no-fault law. Compl. ¶¶ 118-29.

         Plaintiffs have adequately established defendants’ intent to defraud by alleging facts that

  demonstrate both motive and opportunity to commit fraud. Here, defaulting defendants had a

  strong motive to receive reimbursements to which they were not entitled, as well as the

  opportunity to receive reimbursements through fraudulent submissions to plaintiffs. Compl.




                                                    7
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 8 of 17 PageID #: 1283



  ¶¶ 224-42. Moreover, plaintiffs’ allegations demonstrate that defaulting defendants engaged in a

  pattern of fraud over a substantial period of time; plaintiffs have presented documents listing

  almost two thousand claims submitted by Premier Health and Premier Professional, indicating

  the form on which each claim was submitted and the date and dollar amount claimed on each

  submission. Compl. Exs. 5, 7; Weir Exs. 1-2. The volume of fraudulent claims, which

  generated more than $500,000 in payments over several years, see Weir Decl. ¶ 8 and Weir Exs.

  1-2, is further evidence of defendants’ fraudulent intent and lack of inadvertence or mistake.

         Plaintiffs have also adequately alleged reasonable reliance by explaining that statutory

  and contractual requirements obligate plaintiffs to respond promptly to facially valid claims

  submitted under New York’s no-fault statutory scheme, and thus limit plaintiffs’ opportunity to

  scrutinize and investigate the propriety of apparently legitimate claims for reimbursement.

  Compl. ¶¶ 224-42; see Gov’t Emps. Ins. Co. v. Damien, 2011 WL 5976071, at *4 (E.D.N.Y.

  Nov. 3, 2011), adopted by 2011 WL 6000571 (E.D.N.Y. Nov. 29, 2011). In addition, plaintiffs

  have alleged that defaulting defendants actively concealed their fraud, making it even more

  difficult for plaintiffs to uncover their wrongdoing within the thirty-day processing period.

  Compl. ¶¶ 226-42. Finally, plaintiffs have established that they were damaged, as they paid

  $501,504.18 in reimbursements to which defaulting defendants were not legally entitled. Weir

  Decl. ¶ 8; Weir Ex. 1; see Gateva, 2014 WL 1330846, at *6-7; Damien, 2011 WL 5976071, at

  *4. As the entities submitting the bills for the fraudulent tests and, therefore, the entities

  verifying the accuracy of the NF-3 forms, submitting them, and subsequently receiving payment

  for the claims defaulting defendants were active participants in the fraud. I therefore conclude

  that plaintiffs have sufficiently alleged the elements of common law fraud.




                                                     8
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 9 of 17 PageID #: 1284



         B. Unjust Enrichment Claim

         A plaintiff asserting a claim for unjust enrichment under New York law “must establish

  (1) that the defendant benefitted; (2) at the plaintiff’s expense; and (3) that equity and good

  conscience require restitution.” State Farm Mut. Auto Ins. Co. v. Rabiner, 749 F. Supp. 2d 94,

  102 (E.D.N.Y. 2010) (citing Kaye v. Grossman, 202 F.3d 611, 616 (2d Cir. 2000)).

         Plaintiffs adequately allege that defaulting defendants benefitted—in the amount of

  $501,504.18—at plaintiffs’ expense. Weir Decl. ¶ 8; Weir Ex. 1. As discussed above, defaulting

  defendants submitted fraudulent bills seeking reimbursement to which they knew they were not

  entitled, and plaintiffs relied on the “facially valid, verified documents” and paid the bills

  promptly. Compl ¶¶ 116, 118-29, 170-207, 224-40. Because defaulting defendants were not

  entitled to payment, plaintiffs have adequately pled the elements of unjust enrichment. Allstate

  Ins. Co. v. Khaimov, 2013 U.S. Dist. LEXIS 184872, at *16-17 (E.D.N.Y. Nov. 18, 2013);

  Allstate Ins. Co. v. Polack, 2012 WL 4489282, at *5 (E.D.N.Y. Sept. 12, 2012), adopted by 2012

  WL 4490775 (E.D.N.Y. Sept. 28, 2012).

         C. Declaratory Judgment

         In a case within its jurisdiction, a district court may enter a judgment declaring “the rights

  and other legal relations” of the parties. 28 U.S.C. § 2201(a); see also Cardinal Chem. Co. v.

  Morton Int’l, Inc., 508 U.S. 83, 95 (1993). A court may consider whether to enter a declaratory

  judgment only if the action presents an actual case or controversy that is “real and immediate,

  allowing specific and conclusive relief,” and “ripe for adjudication.” U.S. Underwriters Ins. Co.

  v. Kum Gang, Inc., 443 F. Supp. 2d 348, 352 (E.D.N.Y. 2006) (citation omitted).

         Plaintiffs have established that an actual controversy exists and that a declaratory

  judgment would afford specific and conclusive relief as to pending claims. As discussed above,




                                                    9
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 10 of 17 PageID #: 1285



   plaintiffs contend that GEICO has already paid out more than $500,000.00 on fraudulent claims.

   Weir Decl. ¶ 8. Moreover, according to plaintiffs, defendants have commenced collection

   actions with respect to $180,930.93 of outstanding bills. 4 Weir Decl. ¶¶ 10-11; Weir Ex. 3.

   Plaintiffs have adequately alleged that these pending claims are fraudulent for the reasons stated

   above. Accordingly, plaintiffs have established that there is an actual controversy where a

   declaratory judgment would afford specific relief.

            Courts in this district have found it appropriate to enter declaratory judgments where

   fraudulently incorporated medical services corporations have claims pending against an

   insurance company for payment of no-fault benefits. 5 Allstate Ins. Co. v. Smirnov, 2013 WL

   5407224, at *8 (E.D.N.Y. Aug. 21, 2013); Gov’t Emps. Ins. Co. v. Infinity Health Products, Ltd.,

   2012 WL 1427796, at *4-5 (E.D.N.Y. Apr. 6, 2012), adopted by 2012 WL 1432213 (E.D.N.Y.

   Apr. 25, 2012). I therefore respectfully recommend that this Court enter a declaratory judgment

   providing that plaintiffs are not obligated to pay the outstanding fraudulent claims submitted by

   defaulting defendants.

   III.     Damages

            Although the allegations of a complaint pertaining to liability are deemed admitted upon

   entry of a default judgment, allegations relating to damages are not. Greyhound Exhibitgroup,

   4
     In fact, service was effected on defaulting defendants by serving their counsel in pending collection actions they
   brought against plaintiffs. Docket Entry 46, Geico’s Memorandum of Law in Support of its Motion for an Order
   Granting Leave to Make Alternate Service, at 4 n.1.
   5
     There is some division in the case law regarding whether a federal court should abstain from issuing a declaratory
   judgment where related state court actions are pending under the Supreme Court's Wilton/Brillhart doctrine.
   Compare Gov't Emps. Ins. Co. v. Five Boro Psychological Servs., P.C., 939 F. Supp. 2d 208, 216 (E.D.N.Y. 2013)
   (holding that a federal court need not abstain from entering declaratory judgment against a medical services
   corporation) with Gov't Emps. Ins. Co. v. Leica Supply, Inc., 2013 WL 1334177, at *3-4 (E.D.N.Y. Mar. 30, 2013)
   (denying without prejudice the motion for declaratory judgment pending the Court's receipt of information on the
   existence of pending state lawsuits between the plaintiff and defendant for unpaid no-fault benefit claims). I
   recommend adopting this Court's finding in Five Boro Psychological Services that Wilton/Brillhart abstention does
   not apply where, as here, the plaintiff seeks damages and declaratory relief, as opposed to declaratory relief alone.
   939 F. Supp. 2d 208, 216 (citing State Farm Mut. Auto Ins. Co. v. James M. Liguori, M.D., P.C., 589 F. Supp. 2d
   221, 238 (E.D.N.Y. 2008)).



                                                             10
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 11 of 17 PageID #: 1286



   Inc. v. E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d Cir. 1992). A court must ensure that there

   is a basis for the damages sought by a plaintiff before entering judgment in the amount

   demanded. See Fustok v. ContiCommodity Servs., Inc., 873 F.2d 38, 40 (2d Cir. 1989). A court

   may make this determination based upon evidence presented at a hearing or upon a review of

   detailed affidavits and documentary evidence. See Fed. R. Civ. P. 55(b)(2); Action S.A. v. Marc

   Rich & Co., Inc., 951 F.2d 504, 508 (2d Cir. 1991); Fustok, 873 F.2d at 40. Plaintiffs have

   submitted a declaration from Robert Weir, a GEICO Claims Manager, together with supporting

   documents, to demonstrate their entitlement to damages. Weir Decl.; Weir Exs. 1-3. Defaulting

   defendants have failed to submit any response to these filings. In light of these circumstances, a

   hearing on the issue of damages is not warranted.

            A. Common Law Fraud

            Plaintiffs seek damages on their fraud claims in an amount equal to the payments they

   have made to defaulting defendants. For the reasons discussed above, defaulting defendants

   were not entitled to submit claims for reimbursement, and any payments made by plaintiffs to

   them are therefore appropriately recovered. Plaintiffs have submitted records of the payments

   they made to defaulting defendants. These records were compiled using GEICO’s earnings

   reporting system. Weir Decl. ¶ 4; Weir Ex. 1. GEICO uses this system to generate IRS Forms

   1099-MISC, suggesting its reliability, and the information relating to defaulting defendants was

   culled using their tax identification numbers. Weir Decl. ¶ 4. These records indicate that

   plaintiffs made payments in the amount of $147,671.22 to Premier Professional and $353,832.96

   to Premier Health. 6 Weir Decl. ¶ 8; Weir Ex. 1; Sirignano Ex. C.


   6
     The Court has independently calculated the sum of total payments to Premier Health and Premier Professional
   listed in the records provided and confirmed that the amounts listed by Weir in his declaration are accurate. I also
   recognize that, under New York law, a fraud action must be commenced “within two years after . . . actual or
   imputed discovery or within [six years] computed from the time the cause of action accrued, whichever is longer.”


                                                            11
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 12 of 17 PageID #: 1287



            Plaintiffs seek to hold Premier Health and Premier Professional jointly and severally

   liable for these amounts. Plaintiffs correctly argue that New York law provides for joint and

   several liability where defendants acted jointly or concurrently to produce a single injury. Pls.

   Mem. at 18; see Infinity Health Products, Ltd., 2012 WL 1427796, at *10. Joint and several

   liability may also be imposed where a plaintiff demonstrates that the harm it suffered as a result

   of the conduct of two or more defendants is “indivisible.” Infinity Health Products, Ltd., 2012

   WL 1427796, at *11.

            Here, while plaintiffs contend in conclusory fashion that defendants acted jointly, they

   have not alleged specific facts to support their contention. Although the complaint alleges that

   both defaulting defendants were at certain times controlled by the same parties, Compl. ¶¶ 23-25,

   29-31, plaintiffs have not described any specific agreement between the two corporate entities or

   alleged any facts demonstrating that their fraudulent activities were committed in tandem. See

   Allstate Ins. Co. v. Nazarov, 2015 WL 5774459, at *17-18 (E.D.N.Y. Sept. 30, 2015) (declining

   to recommend imposition of joint and several liability where defendants, although controlled by

   the same individual, each submitted their own fraudulent documents seeking reimbursement).

   Nor have plaintiffs established that the injury they sustained by reimbursing Premier Professional

   and Premier Health is indivisible. To the contrary, and as in Nazarov, plaintiffs’ submissions

   identify claims submitted by each defaulting defendant, indicate which defendant is responsible

   for each claim, and list the amounts paid to each defendant. Compl. Exs. 5, 7; Weir Exs. 1-3.


   N.Y. C.P.L.R. 203(g), 213(8). The records in this case include payments that occurred as far back as 2004, which
   raises the possibility that defaulting defendants, had they appeared, could have raised a viable statute of limitations
   defense. Weir Ex. 1. However, defaulting defendants waived the statute of limitations defense by failing to respond
   to plaintiffs' complaint. Fed. R. Civ. P. 8(c); see Travellers Int'l., A.G. v. Trans World Airlines, Inc., 41 F.3d 1570,
   1580 (2d Cir.1994) (“The general rule in federal courts is that a failure to plead an affirmative defense results in a
   waiver.”); Connor v. Kira Int’l, Inc., 2015 WL 4656530, at *6 n.7 (E.D.N.Y. July 14, 2015) (collecting cases); Koch
   v. Rodenstock, 2012 WL 5844187, at *3 n.2 (S.D.N.Y. May 9, 2012), adopted by 2012 WL 5845455 (S.D.N.Y. Nov.
   19, 2012) (statute of limitations defense waivable upon defendant's default); Wachs v. Winter, 569 F. Supp. 1438,
   1442 (E.D.N.Y. 1983) (same).



                                                             12
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 13 of 17 PageID #: 1288



          For the reasons stated above, I conclude that it would not be appropriate to hold Premier

   Health and Premier Professional jointly and severally liable. Accordingly, I recommend that

   plaintiffs be awarded a judgment against defaulting defendant Premier Professional in the

   amount of $147,671.22, and against defaulting defendant Premier Health in the amount of

   $353,832.96. Weir Decl. ¶ 8; Weir Ex. 1.

          Plaintiffs further seek prejudgment interest at the rate of nine percent per annum on their

   fraud claims. N.Y. C.P.L.R. 5001, 5004; Pls. Mem. at 17. New York law provides for

   prejudgment interest on fraud claims, Tosto v. Zelaya, 2005 U.S. Dist. LEXIS 8085, at *23

   (S.D.N.Y. May 12, 2003), and further provides that “interest shall be computed from the earliest

   ascertainable date the cause of action existed.” N.Y. C.P.L.R. 5001(b). “A cause of action based

   on fraud accrues when the fraud is discovered or could with reasonable diligence have been

   discovered.” Tosto, 2005 U.S. Dist. LEXIS 8085, at *23-24 (citing N.Y. C.P.L.R. 213(8)).

          Plaintiffs have proposed a more conservative calculation method than that allowed under

   New York law, and request that the Court calculate interest “from the first day following the year

   in which the payments were made on the fraudulent claims by GEICO to the Defaulting

   Defendants.” Pls. Mem. at 17; Sirignano Ex. C. Accordingly, I recommend that plaintiffs be

   awarded prejudgment interest at the statutory rate of nine percent per annum accruing on the first

   day following the year in which the fraudulent payments were made, in accordance with the

   preferred calculation method of plaintiffs, through the date of entry of judgment. See Gov’t

   Emps. Ins. Co. v. Gateva, 2014 WL 1330846, at *11 (E.D.N.Y. Mar. 30, 2014). Plaintiffs

   calculate that they paid the following amounts during the following years, and I therefore




                                                   13
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 14 of 17 PageID #: 1289



   recommend interest at the rate of nine percent per year be awarded on these amounts from the

   dates indicated below until the date judgment is entered: 7

   Premier Health Services, LLC
   Amount Paid          Billing Year                     Date 9% Interest Begins to Run
   $3,257.25            2004                             January 1, 2005
   $33,491.69           2005                             January 1, 2006
   $44,500.41           2006                             January 1, 2007
   $23,253.46           2007                             January 1, 2008
   $23,297.04           2008                             January 1, 2009
   $17,014.71           2009                             January 1, 2010
   $77,389.43           2010                             January 1, 2011
   $85,457.73           2011                             January 1, 2012
   $43,586.24           2012                             January 1, 2013
   $2,585.00            2013                             January 1,2014

   Premier Professional Services, LLC
   Amount Paid           Billing Year                   Date 9% Interest Begins to Run
   $22,045.99            2004                           January 1, 2005
   $21,746.72            2005                           January 1, 2006
   $23,904.33            2006                           January 1, 2007
   $24,142.31            2007                           January 1, 2008
   $22,053.56            2008                           January 1, 2009
   $24,480.38            2009                           January 1, 2010
   $7,957.53             2010                           January 1, 2011
   $1,340.40             2011                           January 1, 2012


           B. Unjust Enrichment

           To the extent plaintiffs seek additional damages from defaulting defendants on their

   unjust enrichment claims, Compl. ¶¶ 401-06, 448-53, I recommend that their application be

   denied. The same damages—payments made by plaintiffs to defaulting defendants for

   fraudulent claims—are sought in each count, and separate awards on plaintiffs’ claims for fraud

   and unjust enrichment would accordingly be duplicative.




   7
     The amounts in the table are drawn from Sirignano Ex. C. The Court has cross-checked the amounts against those
   set forth in Weir Ex. 1 and they appear to be accurate.



                                                          14
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 15 of 17 PageID #: 1290



          C. Set-Off Amount

          Plaintiffs’ claims against some of the defendants in this action have been settled or

   voluntarily dismissed. Docket Entries 66, 73-75, 81-82, 87, 93-95. I therefore consider whether

   any amounts obtained by plaintiffs as a result of settlements reached with other defendants

   should be set-off against the damages awarded against the defaulting defendants here.

          “New York law provides that a plaintiff who settles its claim against fewer than all

   defendants in an action may still pursue its claim against the non-settling defendants, but may not

   seek to recover twice for the same harm.” Godfrey v. Soto, 2007 WL 2693652, at *6 (E.D.N.Y.

   Sept. 10, 2007); see N.Y. Gen. Oblig. § 15-108. The purpose of this provision is to encourage

   settlement, while also ensuring that a non-settling defendant is not forced to pay more than his

   equitable share. Williams v. Niske, 81 N.Y.2d 437, 443 (1993). However, the operation of the

   rule is not automatic; the New York Court of Appeals has highlighted that, “as an affirmative

   defense, General Obligations Law § 15-108(a) must be pled by a tortfeasor seeking its

   protection.” Schipani v. McLeod, 541 F.3d 158, 161(2d Cir. 2008) (citing Whalen v. Kawasaki

   Motors Corp., U.S.A, 92 N.Y.2d 288, 293 (1998)). An affirmative defense is waived if not pled

   in the defendant’s answer. Fed. R. Civ. P. (8)(c); Chubb & Son Inc. v. Kelleher, 2006 WL

   2711543, at *3 (E.D.N.Y. Sept. 21, 2006). Additionally, the burden of establishing the

   potentially duplicative nature of a plaintiff’s recovery falls on the non-settling defendant.

   Godfrey, 2007 WL 2693652, at *7.

          Where a defendant defaults and waives the protections of General Obligations Law § 15-

   108, there is the potential for a windfall: “[e]ither the defaulting defendant will receive the

   benefit of a set-off which it has not sought nor shown entitlement to through pleading or proof,

   or the plaintiff will be awarded damages that duplicate to some unascertainable extent . . . .” Id.




                                                    15
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 16 of 17 PageID #: 1291



   Nevertheless, the few New York courts that have addressed a non-settling, defaulting defendant

   have decided that, if there is to be a windfall, it should not go to a party that has refused to

   participate in the litigation. Id. (collecting cases). Here, defaulting defendants failed to appear

   or defend. Docket Entries 56, 58, 62, 64. Accordingly, they forfeited their opportunity to plead

   the affirmative defense that General Obligations Law § 15-108 provides. For all these reasons, I

   recommend that any amounts obtained by plaintiffs in settlements should not be taken into

   account when calculating the damages to be assessed against the defaulted defendants.

                                             CONCLUSION

          For the reasons stated in this Report and Recommendation, I respectfully recommend that

   plaintiffs’ motion for default judgment be granted with respect to defaulting defendants, Premier

   Health and Premier Professional, and that judgment be entered against Premier Health in the

   amount of $353,832.96 and Premier Professional in the amount of $147,671.22, in addition to an

   award of prejudgment interest at a rate of nine percent per annum, as detailed above. Finally, I

   respectfully recommend that this Court enter a declaratory judgment providing that plaintiffs are

   not obligated to pay any outstanding fraudulent claims submitted to them for reimbursement by

   Premier Health and Premier Professional.

          Any objections to the recommendations made in this Report must be submitted within

   fourteen days after filing of the Report and, in any event, no later than March 7, 2016. See 28

   U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2). Failure to file timely objections may waive the

   right to appeal the District Court’s order. See Small v. Sec’y of Health & Human Servs., 892

   F.2d 15, 16 (2d Cir. 1989) (discussing waiver under the former ten-day limit).




                                                     16
Case 1:14-cv-05277-ENV-SMG Document 98 Filed 02/17/16 Page 17 of 17 PageID #: 1292



             Plaintiffs shall serve this Report and Recommendation on defaulting defendants by letter

   sent to their last known addresses and by letter sent to counsel in defaulting defendants’

   outstanding collection lawsuits and shall promptly file proof of service with the Court.



                                                                                  /s/
                                                                           STEVEN M. GOLD
                                                                           United States Magistrate Judge
   Dated:              Brooklyn, New York
                       February 17, 2016




   U:\AJC 2015-2016\GEICO v. Spectrum Neurology Group et al\Geico et al v. Spectrum Neurology Group et al DefaultFINAL.docx




                                                                    17
